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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,             )
                                      )
        Plaintiff,                    )
                                      )          CIVIL ACTION NO.
        v.                            )            2:17cv80-MHT
                                      )                (WO)
$603,752.76 SEIZED FROM               )
STERLING ACCOUNT NUMBER               )
xxx0558 IN THE NAME OF                )
CLOVERLAND DRUGS, INC.;               )
et al.,                               )
                                      )
        Defendants.                   )

                                   ORDER

      To protect the public’s right of access to court

filings, see Romero v. Drummond Co., 480 F.3d 1234,

1245 (11th Cir. 2007), and to comply with the court’s

administrative          requirements,      it    is    ORDERED    that,    by

April 16, 2021, claimants David and Teresa Saalwaechter

shall        properly      file   a     public        version     of   their

now-sealed        motion    for   summary       judgment    and    exhibits

(Doc.      82).     As     previously     required,      the    motion    for

summary judgment must be redacted to avoid disclosure

of   any     non-public      or   confidential        information.        See
   Case 2:17-cv-00080-MHT-JTA Document 86 Filed 04/12/21 Page 2 of 2




Order   (Doc.   81).      Each   individual      exhibit     shall     be

filed separately in the electronic filing system as an

attachment to the motion.          Each exhibit shall be filed

unredacted if it contains no confidential information,

redacted to conceal confidential information, or, if

required to be filed under seal, replaced with a notice

stating that the document has been filed under seal.

    DONE, this the 12th day of April, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
